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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


   UNITED STATES OF AMERICA

   v.                                            CASE NO. 8:13-cr-324-T-30TGW

   DANAY CRESPO-RODRIGUEZ


                        FORFEITURE MONEY JUDGMENT

         Before the Court is the United States motion for a forfeiture money judgment

   against defendant Danay Crespo-Rodriguez (Doc. 176), pursuant to 18 U.S.C. §

   982(a)(2)(B) and Rule 32.2, Federal Rules of Criminal Procedure, in the amount

   of $655,568.61, which represents the amount of proceeds obtained as a result of

   the conspiracy to commit access device fraud, in violation of 18 U.S.C. §

   1029(b)(2), as charged in Count One of the Second Superseding Indictment.

         Being fully advised in the premises, the Court hereby finds that the United

   States has established that the amount of proceeds generated by the conspiracy,

   for which the defendant has been convicted in Count One, was $655,568.61.

         Accordingly, it is hereby ORDERED that for good cause shown, the motion

   of the United States (Doc. 176) is GRANTED.

         It is FURTHER ORDERED that pursuant to the provisions of 18 U.S.C. §

   982(a)(2)(B) and Rule 32.2(b)(2), Federal Rules of Criminal Procedure, defendant

   Danay Crespo-Rodriguez is jointly and severally liable with her co-conspirators
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   convicted of the same offense for a forfeiture money judgment in the amount of

   $655,568.61.

            In accordance with the defendant’s Plea Agreement (Doc. 95, 11-12) and

   Rule 32.2(b)(4), Federal Rules of Criminal Procedure, this order of forfeiture will

   be final as to the defendant at the time it is entered.

            The Court retains jurisdiction to enter any further order necessary for the

   forfeiture and disposition of any property belonging to the defendant, which the

   United States is entitled to seek as substitute assets under 21 U.S.C. § 853(p), as

   incorporated by 18 U.S.C. § 982(b)(1), up to and including the amount of the

   $655,568.61 forfeiture money judgment, and to address any third party claim that

   may be asserted in these proceedings.

            ORDERED in Tampa, Florida, on December 26, 2013.




   Copies furnished to:
   All Counsel/Parties of Record
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